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  UNITED STATES DISTRICT COURT                                                                 10/19/2020
  SOUTHERN DISTRICT OF NEW YORK
   --------------------------------------------------------------------------   X
   WEI SU and HAI JUAN WANG,                                                    :
                                                                                :
                                         Plaintiffs,                            :
                                                                                :
                                -against-                                       :
                                                                                :
   SOTHEBY’S, INC.,                                                             :
                                                                                :
                                          Defendant.                            :
   --------------------------------------------------------------------------   :
   SOTHEBY’S, INC.,                                                             :
                                                                                :     17-CV-4577 (VEC)
                                         Counter-Claimant,                      :
                                                                                :     ORDER SCHEDULING
                                -against-                                       :   TELEPHONE CONFERENCE
                                                                                :
   WEI SU, HAI JUAN WANG, and YEH YAO HWANG                                     :
                                                                                :
                                         Counterclaim-Defendants,               :
                                                                                :
   --------------------------------------------------------------------------   :
   YEH YAO HWANG,                                                               :
                                                                                :
                                         Cross-Claimant,                        :
                                                                                :
                                -against-                                       :
                                                                                :
   WEI SU and HAI JUAN WANG,                                                    :
                                                                                :
                                          Cross-Defendants.                     :
   --------------------------------------------------------------------------   X

KATHARINE H. PARKER, UNITED STATES MAGISTRATE JUDGE

        This case has been referred to me for settlement purposes. (Doc. No. 180.) A telephone

conference will be held on Monday, November 9, 2020 at 12:45 p.m. in advance of a

settlement conference. Counsel for the parties are directed to call Judge Parker’s Chambers
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court conference line at the scheduled time. Please dial (866) 434-5269, Access code:

4858267.



       SO ORDERED.

Dated: October 19, 2020
       New York, New York

                                                  ______________________________
                                                  KATHARINE H. PARKER
                                                  United States Magistrate Judge
